      Case 7:20-cv-00062-CDL-MSH Document 50 Filed 05/07/20 Page 1 of 8



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                           VALDOSTA DIVISION

A.S.M., et al.,                       *

      Petitioners,                    *

vs.                                   *       CASE NO. 7:20-CV-62 (CDL)

WARDEN MICHAEL DONAHUE, et al., *

      Respondents.                    *


                                 O R D E R

      Petitioners seek expedited discovery to support their motion

for preliminary injunction.        Specifically, they request that the

Court permit their expert to visit the Stewart Detention Center

and Irwin County Detention Center to conduct an inspection of the

facilities.    That inspection would include interviewing detainees,

inspecting     records,    and   viewing     various   areas   within     the

facilities.    For the reasons that follow, Petitioners’ motion (ECF

No. 32) is granted in part and denied in part.

I.    Should Discovery Be Expedited?

      Petitioners allege that their constitutional rights are being

violated due to the Respondents’ deliberate indifference to their

health and safety in light of the COVID-19 pandemic. They maintain

that Respondents are incapable of protecting them from infection,

and thus they seek release from custody as the only available

remedy.    In the alternative, they ask the Court to exercise its




                                     1
    Case 7:20-cv-00062-CDL-MSH Document 50 Filed 05/07/20 Page 2 of 8



equitable     powers   to       assure    that    Respondents         operate     their

facilities    in   such     a    manner    to    protect      them    from   COVID-19

infection.     Because the threat of infection is immediate and

presents the potential for irreparable harm, they maintain that

release and/or equitable relief should be granted now and not

delayed by a normal litigation schedule.

     Generally,     when        the   determination      of    whether       to   grant

preliminary    injunctive        relief    cannot   be     made      based   upon   the

existing pleadings and evidentiary record, it is appropriate to

permit relevant and proportional discovery to be conducted in an

expedited manner.      See Fed. R. Civ. P. 26(d) advisory committee’s

note to 1993 amendment (explaining that expedited discovery “will

be appropriate in some cases, such as those involving requests for

a preliminary injunction”).              Based upon Petitioners’ allegations

combined with evidence submitted in the form of sworn declarations,

the Court finds that Petitioners’ claims are not subject to summary

dismissal at this stage of the proceedings.1                    Accordingly, they

are entitled to conduct discovery.               Given the alleged immediate

threat to Petitioners’ health and safety, that discovery should be

expedited.    The issue is whether that discovery should include an




1
  Although the Court previously dismissed Petitioners’ habeas corpus
claims for lack of jurisdiction, see Order (Apr. 10, 2020), ECF No. 14,
Petitioners subsequently amended their petition to include alternative
claims for injunctive relief that do not restrict the remedy to the
release of Petitioners from custody.


                                           2
      Case 7:20-cv-00062-CDL-MSH Document 50 Filed 05/07/20 Page 3 of 8



inspection of the Stewart and Irwin facilities, and if so, the

extent of that inspection.

      A party may request “entry onto designated land or other

property possessed or controlled by the responding party, so that

the requesting party may inspect, measure, survey, photograph,

test, or sample the property or any designated object or operation

of it.”     Fed. R. Civ. P. 34(a)(2).        Any such request, however,

must be limited to “nonprivileged matter that is relevant to any

party’s claim or defense and proportional to the needs of the case,

considering the importance of the issues at stake in the action,

the amount in controversy, the parties’ relative access to relevant

information,     the   parties’   resources,    the   importance   of     the

discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs the likely benefit.”

Fed. R. Civ. P. 26(b)((1).

II.   Does   Petitioners’   Inspection         Request   Seek    Relevant,
      Nonprivileged Matter?

      On its face, Petitioners’ request for inspection does not

seek to discover matters that would be deemed subject to a legal

privilege.    To the extent that it could be so construed, privilege

concerns can be addressed with an appropriate protective order.

The Court also finds that Petitioners seek information that is

relevant.    To obtain the requested preliminary injunctive relief,

Petitioners must ultimately show among other things that they have




                                     3
    Case 7:20-cv-00062-CDL-MSH Document 50 Filed 05/07/20 Page 4 of 8



a substantial likelihood of succeeding on the merits of their

claims.   Their claims allege that Respondents are deliberately

indifferent to their health and safety by not properly protecting

them from infection with the COVID-19 virus.       They argue that this

deliberate indifference violates their constitutional rights.

     Respondents    maintain    that     they   have   adopted   policies

consistent with all appropriate medical guidance on the subject,

that they are effectively implementing those policies, and that

their conduct is reducing the risk of the spread of COVID-19 in a

reasonable   and   effective   manner.      Petitioners   contest   these

assertions and have filed declarations contradicting Respondents’

contentions.   They seek to produce additional evidence to support

the declarations and to show that Respondents are not effectively

implementing appropriate policies and are incapable of reasonably

preventing the spread of COVID-19 within these institutions.            They

seek to be given an opportunity to have their expert visit the

institutions in person to actually see what is happening on the

ground.   The Court agrees that they are not simply required to

take Respondents’ word for it.      The information Petitioners seek

is relevant to their claims and to Respondents’ defenses.

III. Is the Request for Inspection Proportional?

     In addition to seeking relevant nonprivileged materials,

discovery requests must be proportional to the needs of the case.

No one disputes the importance of this case; nor that much of the


                                   4
     Case 7:20-cv-00062-CDL-MSH Document 50 Filed 05/07/20 Page 5 of 8



information sought is within the control of Respondents.                              But

proportionality rests upon a determination as to whether it is

necessary given any burden the requests may impose upon the

responding party.

         The burden of permitting an inspection is not insubstantial.

At   a    time    when     these    institutions    should    be    devoting       their

undistracted attention to addressing the unprecedented challenges

associated with COVID-19, they are faced with the possibility of

allowing outsiders into their closed environment whom they must

escort and appropriately monitor.                   If Petitioners’ expert is

allowed on the premises, he will be accompanied by Petitioners’

counsel.        Respondents’ counsel makes the reasonable request that

they along with their expert be allowed to be present during the

inspection as well.           A language interpreter will also likely be

necessary.        Thus, at least five outsiders will be breaking the

quarantine that Respondents are attempting to enforce.                          It would

of course be possible presumably to protect the population within

the facilities from the transmission of the virus by any of the

inspection participants by requiring them to be tested prior to

the inspection, but the Court is not convinced that reliable

testing     is    available        on   an   expedited    basis    for    all    of   the

participants.

         Even    if   it    could       be   guaranteed    that     the    inspection

participants pose no risk of transmitting COVID-19 within the


                                              5
    Case 7:20-cv-00062-CDL-MSH Document 50 Filed 05/07/20 Page 6 of 8



facilities, the inspection that Petitioners seek is expansive and

will require disruption of operating procedures at a time when

focus on the mission is essential to making sure the environment

is safe and secure.      Petitioners seek to examine most areas of the

facilities,    comb      through   facility    records,    and   interview

detainees.2   These activities will certainly disrupt the ordinary

operation of the facility and will require additional manpower and

attention from a staff that is already facing unprecedented burdens

and is likely strained.      The Court therefore finds that the burden

on Respondents of an expedited inspection is substantial and

increases the COVID-19 risk to detainees and employees.

     The   fact   that    the   inspection    will   substantially   burden

Respondents is not dispositive of whether the inspection should be

permitted.     That burden must be balanced with the need for the

information by Petitioners.        The Court finds that Petitioners can

obtain similar discovery without inspecting the facilities in

person.    Given the availability of these alternative discovery


2
  Petitioners’ request that their expert conduct confidential interviews
with detainees as part of his Rule 34 inspection presents troublesome
issues in addition to the disruption the process may create within the
institutions. See, e.g., Belcher v. Bassett Furniture Indus., Inc., 588
F.2d 904, 907 (4th Cir. 1978) (finding that the danger that
“interrogation of the employees [during a Rule 34 site inspection],
conducted informally” could amount to “a roving deposition, taken without
notice, throughout the plants, of persons who were not sworn and whose
testimony was not recorded, and without any right by the defendant to
make any objection to the questions asked” outweighed the benefits).
These issues can be avoided when an alternative such as depositions
exist.



                                     6
      Case 7:20-cv-00062-CDL-MSH Document 50 Filed 05/07/20 Page 7 of 8



methods that are less burdensome and safer, the Court finds that

Petitioners’ request for an in-person inspection at this time is

disproportionate to the needs of the case. And Petitioners’ motion

for   inspection    is   denied;   however,   the   Court   authorizes    the

following expedited discovery:3

      1)Petitioners shall be permitted to depose via telephone
      or videoconference up to seven detainees in each
      detention facility on or before May 18, 2020, and
      Respondents shall cooperate to make the detainees
      available. Each deposition shall last no longer than 30
      minutes total with 20 minutes allocated to Petitioners’
      counsel and 10 minutes to Respondents’ counsel. Counsel
      may   modify   these   time   limits   upon   agreement.
      Petitioners shall identify the detainees they wish to
      depose at least two days prior to their scheduled
      depositions.   The depositions shall be restricted to
      issues regarding the conditions at the facility related
      to COVID-19.

      2)Prior to May 18, 2020, Respondents shall arrange for
      a virtual tour of the facilities that will include
      Petitioners’ and Respondents’ counsel and experts.
      These tours shall last no longer than 3 hours at each
      facility.    At least two days prior to the tour,
      Petitioners shall inform Respondents of specific areas
      within the facilities that they would like to be included
      on the tour and any tools they would like to be available
      to the tour guide in case measurements are requested.
      Respondents shall, to the extent reasonably feasible,
      accommodate such requests. In order to avoid security
      issues, Petitioners shall not make any copy of the tour.
      Respondents shall retain a copy of the tour and file it
      ex parte with the Court so that it will be accessible
      only to the Court and also available should a dispute
      arise as to what it showed.

      3)By 5:00 P.M. on May 11, 2020, Petitioners shall
      propound a narrow request for production of documents

3 If Respondents conclude that this authorized discovery is more
burdensome than the inspection sought by Petitioners, then they may
comply with today’s order by agreeing to the inspection as requested by
Petitioners.


                                      7
Case 7:20-cv-00062-CDL-MSH Document 50 Filed 05/07/20 Page 8 of 8



specifically identifying the documents that it seeks in
support   of   its   preliminary   injunctive   relief.
Petitioners may only seek documents documenting events
occurring on or after March 1, 2020. Respondents shall
produce copies of the documents within 3 days of the
request.

4)A hearing shall be held telephonically on Petitioners’
motion for preliminary injunctive relief at 10:00 A.M.
on May 28, 2020.    The Court does not contemplate the
presentation of witness testimony at the hearing.
Instead, the evidentiary record shall consist of
declarations,    depositions,   expert    reports,   and
documentary evidence which will be included with the
parties’ briefing.

5)Petitioners’ brief in support of its motion for
preliminary injunctive relief shall be filed by 5:00
P.M. on May 21, 2020. Respondents’ response shall be
filed by 12:00 Noon on May 27, 2020.

6)If necessary, the parties shall jointly submit a
proposed protective order to the Court. If they cannot
agree to the terms of the protective order, the parties
shall submit a proposed protective order that clearly
designates the items to which they agree and disagree.

7)The parties may by agreement modify the compliance
dates set forth in this order without obtaining
permission from the Court, except the briefing schedule
shall not be altered.

IT IS SO ORDERED, this 7th day of May, 2020.

                                   S/Clay D. Land
                                   CLAY D. LAND
                                   CHIEF U.S. DISTRICT COURT JUDGE
                                   MIDDLE DISTRICT OF GEORGIA




                               8
